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 5
     Attorney for Defendant
 6   RAFAEL VELASCO
 7                         IN THE UNITED STATES DISTRICT COURT
 8                       FOR THE EASTERN DISTRICT OF CALIFORNIA

 9   UNITED STATES OF AMERICA,                    )       1:11-CR-00186 LJO
                                                  )
10
                    Plaintiff,                    )       STIPULATION AND
11                                                )       ORDER TO CONTINUE
     v.                                           )       SENTENCING AND MODIFY
12                                                )       SCHEDULE OF DISCLOSURE
                                                  )
13
     RAFAEL VELASCO, et al.                       )
14                                                )
                 Defendants.                      )
15   ______________________________               )
16                                           STIPULATION
17          Plaintiff, United States of America, by and through its counsel, Assistant United States
18   Attorney Kimberly Sanchez and defendant, Rafael Velasco, by and through his counsel, Erin J.
19   Radekin, agree and stipulate to vacate the date set for judgment and sentencing in the above-
20   captioned matter, December 16, 2013, at 11:00 a.m., and to continue judgment and sentencing to
21   January 6, 2014 at 11:00 a.m. in the courtroom of the Honorable Lawrence J. O'Neill.
22
            In addition, the parties stipulate to the following modification to the schedule of
23
     disclosure:
24
            Informal objections to the pre-sentence report                December 16, 2013
25
            Final pre-sentence report                                     December 23, 2013
26
            Motion for correction of the pre-sentence report              December 30, 2013
27

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                                          Stipulation and Order - 1
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 1
            Counsel and the United States Probation Officer assigned to this matter, Ross Micheli,
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     have conferred and this continuance is requested to allow the defense to complete its
 3
     investigation into matters pertinent to the factors under 18 U.S.C. § 3553(a). Under the plea
 4
     agreement, the defense is permitted to argue for a sentence as low as 12 years. The Court has
 5
     appointed mitigation expert, M.E. Greenberg, and a psychologist, Richard A. Blak, to assist Ms.
 6
     Radekin with such investigation. Ms. Greenberg, with the assistance of the paralegal appointed
 7
     in this matter, Corby Eden, has already interviewed multiple witnesses and it is contemplated the
 8
     social history report will be completed by the end of this week. In addition, Mr. Blak has
 9
     completed his evaluation. However, Ms. Radekin is going on a long-planned vacation to
10
     England from November 22 through November 29 and will not have sufficient time after
11

12
     receiving the social history report to complete informal objections. Also, Ms. Radekin has not

13   yet received records she has subpoenaed from CDCR. The defense thus seeks this additional

14   time to complete investigation and informal objections. The Court is advised that Ms. Sanchez

15   and Mr. Micheli have no opposition to the proposed dates set forth above, and Ms. Sanchez has

16   authorized Ms. Radekin to sign this stipulation on her behalf.

17          Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
     IT IS SO STIPULATED
18
     Dated: November 20, 2013                              BENJAMIN WAGNER
19                                                         United States Attorney
20                                                   By:         /s/ Erin J. Radekin for
                                                           KIMBERLY SANCHEZ
21                                                         Assistant United States Attorney
22
     Dated: November 20, 2013                                    /s/ Erin J. Radekin
23
                                                           ERIN J. RADEKIN
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                                                           Attorney for Defendant
                                                           RAFAEL VELASCO
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                                          Stipulation and Order - 2
            Case 1:11-cr-00186-JLT-BAM Document 79 Filed 11/21/13 Page 3 of 3


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 3                                               ORDER
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            For the reasons set forth in the accompanying stipulation and declaration of counsel, the
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     date set for judgment and sentencing, December 16, 2013, at 11:00 a.m. is VACATED and the
 6
     above-captioned matter is set for judgment and sentencing on January 6, 2014 at 11:00 a.m. in
 7
     the courtroom of the Honorable Lawrence J. O'Neill.
 8
            IT IS FURTHER ORDERED that the schedule of disclosure be modified as follows:
 9
            Informal objections to the pre-sentence report              December 16, 2013
10
            Final pre-sentence report                                   December 23, 2013
11

12
            Motion for correction of the pre-sentence report            December 30, 2013

13
     IT IS SO ORDERED.
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15      Dated:    November 20, 2013                          /s/ Lawrence J. O’Neill
                                                      UNITED STATES DISTRICT JUDGE
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                                         Stipulation and Order - 3
